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 1                                                                 The Honorable Marsha J. Pechman

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
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10   AMAZON.COM, INC., a Delaware                        No. 2:24-cv-01188-MJP
     corporation; AMAZON.COM SERVICES LLC,
11   a Delaware limited liability company; and THE       [PROPOSED] ORDER GRANTING
     ERGO BABY CARRIER, INC., a Hawaii                   PLAINTIFFS’ MOTION FOR LEAVE
12   corporation,                                        TO FILE AMENDED COMPLAINT
13                         Plaintiffs,
14          v.
15   MICHAEL BARTLEY, an individual; JEAN
     BATALIEN, an individual; RACHEL
16   DIEKMANN, an individual; HAZEL FLORES,
     an individual d/b/a Webox.com Prep Center;
17   NAMDIDIE IKON, an individual; JUSTIN
     RALEY, an individual; SEBASTIAN
18   GONZALEZ ROJAS, an individual;
     KATHRYN SPOSATO, an individual; JEAN
19   ST. VIL, an individual; MICHAEL SUTTON,
     an individual; and DOES 1-10,
20
                           Defendants.
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22          THIS MATTER came before the Court on Plaintiffs’ Motion for Leave to File an

23   Amended Complaint (the “Motion”) brought by Plaintiffs Amazon.com, Inc., Amazon.com

24   Services, LLC, and the Ergo Baby Carrier, Inc. (collectively, “Plaintiffs”). Having considered

25   Plaintiffs’ Motion and finding good cause, it is hereby ORDERED:

26          Plaintiffs’ Motion is GRANTED. Plaintiffs are directed to file with the Court Plaintiffs’

27   First Amended Complaint for Damages and Equitable Relief, in the form attached as Exhibit B
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
     FOR LEAVE TO FILE AMENDED COMPLAINT - 1                                  Davis Wright Tremaine LLP
                                                                                 920 Fifth Avenue, Suite 3300
     (2:24-cv-01188-MJP)                                                          Seattle, WA 98104-1640
                                                                            206.622.3150 main · 206.757.7700 fax
            Case 2:24-cv-01188-MJP           Document 48     Filed 02/05/25        Page 2 of 2




 1   to the Declaration of Scott Commerson submitted with Plaintiffs’ Motion. Plaintiffs must do so

 2   within 7 days of entry of this Order.

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 4          SO ORDERED this 5th day of February, 2025.

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                                                 A
                                                 MARSHA J. PECHMAN
 9                                               UNITED STATES SENIOR DISTRICT JUDGE

10
     Presented by:
11
     DAVIS WRIGHT TREMAINE LLP
12   Attorneys for Plaintiffs

13
     s/ Scott R. Commerson
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
     FOR LEAVE TO FILE AMENDED COMPLAINT - 2                                 Davis Wright Tremaine LLP
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